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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES – GENERAL

 Case No. CV 20-6635-ODW (KS)                                               Date: November 30, 2021
 Title       James Edward Baertschiger v. Timothy C. Lopez, et al




 Present: The Honorable:     Karen L. Stevenson, United States Magistrate Judge


                 Gay Roberson                                               N/A
                 Deputy Clerk                                     Court Reporter / Recorder

         Attorneys Present for Plaintiff:                   Attorneys Present for Defendants:



 Proceedings: (IN CHAMBERS) ORDER SCHEDULING DISCOVERY STATUS
              CONFERENCE AND ORDER TO SHOW CAUSE RE: PLAINTIFF’S
              FAILURE TO RESPOND TO DISCOVERY PROCEDURES

           On Tuesday, November 30, 2021, Defendants submitted a request to schedule a Pre-
 Motion Discovery Conference, due to the parties’ inability to resolve various discovery disputes.
 Defendants’ request stated that Defendants have been unable to reach Plaintiff, who is
 proceeding pro se, in order to comply with the Court’s pre-motion discovery procedures, which
 require a joint statement of the parties’ positions on the disputed discovery issues. Accordingly,
 the Court schedules a pre-motion discovery conference for Thursday, December 16, 2021 at
 3:00 p.m. The conference will be held telephonically.

          Additionally, Plaintiff James Edward Baertschiger is ORDERED TO SHOW CAUSE
 (“OSC”) on or before Tuesday, December 7, 2021 as to why the Court should not impose
 sanctions due to his failure to comply with the Court’s discovery procedures. Plaintiff may
 discharge the OSC by preparing a Response to this Order of no more than three (3) pages
 explaining the circumstances that prevented him from timely responding to Defendants’
 communications regarding the disputed discovery requests. Plaintiff is also reminded of his
 obligation to keep the Court apprised of his most current address and contact information.

       A failure to timely respond to this Order and establish good cause for failing to
 respond to the discovery will result in an order against Mr. Baertschiger to pay sanctions




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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES – GENERAL

 Case No. CV 20-6635-ODW (KS)                                            Date: November 30, 2021
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 for failure to comply with a court order and may result in a recommendation that the
 action be dismissed for failure to prosecute.

 IT IS SO ORDERED.




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                                                                Initials of Preparer     gr




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